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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No. 13-cv-2406-RPM

DAVID MILLARD,
EUGENE KNIGHT,
ARTURO VEGA,

      Plaintiffs,
v.

MICHAEL RANKIN, in his official capacity as Director of the Colorado Bureau of
Investigation,

      Defendant.
                               NOTICE OF APPEAL

      NOTICE IS HEREBY GIVEN that Defendant files this appeal to the United

States Court of Appeals for the Tenth Circuit from the Order Denying Defendant’s

Motion for Summary Judgment (Doc. 70) and from the Judgment entered by the

Court and the Clerk of this Court on August 31, 2017 (Doc. 107), and further

contained in this Court’s Findings of Fact, Conclusions of Law, and Order for Entry

of Judgment (Doc. 106). This notice of appeal also encompasses review of “all earlier

interlocutory orders” by the district court. McBride v. Citgo Petrol. Corp., 281 F.3d

1099, 1104 (10th Cir. 2002).

      Respectfully submitted this 20th day of September, 2017.
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                              CERTIFICATE OF SERVICE

      This is to certify that on September 20, 2017, the within Notice of Appeal was

electronically filed with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the following e-mail addresses.

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                                               s/ Mariah Cruz-Nanio




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